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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

EVERLIGHT ELECTRONICS CO., LTD.                §
                                               §
vs.                                            §     NO: WA:21-CV-00906-ADA
                                               §
AMAZON.COM, INC., AMAZON.COM                   §
SERVICES LLC

                 ORDER SETTING MARKMAN HEARING VIA ZOOM

       IT IS HEREBY ORDERED that the above entitled and numbered case is set for

MARKMAN HEARING VIA ZOOM on Friday June 10, 2022 at 09:00 AM before the

Honorable Derek T. Gilliland. The Zoom link will be sent via email to counsel of record.

SIGNED this 23rd day of May, 2022.




                                                   ______________________________
                                                   DEREK T. GILLILAND
                                                   UNITED STATES MAGISTRATE JUDGE
